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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY

 RAY MARSHALL, individually and on
 behalf of all others similarly situated,

                             Plaintiff,                 Civil Case No. 2:18-cv-01344

                      v.                                DOCUMENT FILED
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 VERDE ENERGY USA, INC.,

                             Defendant.



                         DEFENDANT’S RESPONSE TO
              PLAINTIFF’S NOTICE OF SUPPLEMENTAL AUTHORITY

       Verde Energy USA, Inc. (“Verde”) submits this Response to Plaintiff’s Notice of

Supplemental Authority (ECF No. 46), which suggests that this Court should find that Marshall

has sufficiently pled claims for breach of contract and unjust enrichment in light of Mercado v.

Verde Energy USA, Inc., No. 1:18-cv-02068, 2019 WL 978531 (N.D. Ill. Feb. 28, 2019).

       In Mercado, the court agreed with Verde that Verde’s Terms of Service (the “TOS”) did

not promise that its variable rate would be “tied to the wholesale market rate,” would “track the

weighted LMP and other PJM charges,” or that Verde would charge prices in line with those

“allegedly available from competitors.” Id. at *2. Indeed, the court expressly rejected Mercado’s

reliance on allegations that Verde’s rates “bore little or no relation to the wholesale cost of
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electricity” and “deviat[ed] significantly from the local utility.” Id. The court concluded only that

the TOS “promise[d] that the variable rate, if it changed, would change based on market

conditions.” Id. The court also allowed Mercado’s claim for unjust enrichment to proceed because

Mercado “explicitly pleaded” the claim “in the alternative.” Id. at *4. The court also held that

Meracdo’s complaint lacked specificity and included impertinent matter. Id. at *5.

       Mercado does not salvage Marshall’s insufficiently pled claim for breach of contract. Here,

Marshall alleged that Verde breached the TOS because: its variable rates did not “‘reflect’ monthly

wholesale electric prices;” it charged rates “higher than rates charged by other ESCOs or local

utilities;” and its rates were “disconnected from changes in wholesale costs.” ECF No. 1 at ¶¶ 3,

23, 38-39, 73. Following Mercado, given that the TOS did not promise that Verde would base its

variable rates on such factors as competitors’ rates or some unidentified wholesale market rate,

Marshall’s claim for breach of contract cannot proceed on those grounds.

       Furthermore, in a case involving substantially similar contractual language and allegations,

the Second Circuit recently held that a claim for breach of contract was “near-frivolous.”1 Richards

v. Direct Energy Servs., LLC, 915 F.3d 88, 99 (2d Cir. 2019). In Richards, the contract at issue

provided that the defendant’s variable rate may vary each month “based upon business and market

conditions.” Id. at 97. The plaintiff, however, argued that the defendant breached the contract

because its variable rate did not correspond with fluctuations in the defendant’s procurement costs

and was higher than the standard service rate approved by the governing regulatory authority. Id.

at 98-99. The Second Circuit rejected these arguments, finding that the contract did not “suggest




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  As set forth in Verde’s Notice of Supplemental Authority regarding Richards, Marshall’s
allegations are strikingly similar to those set forth in Richards, with some of Marshall’s allegations
having been cut and pasted from Richards’ Complaint. ECF No. 44 at 2.
                                                    2
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that the variable rate bears a direct relationship to [the defendant’s] procurement costs” or promise

a rate lower than that of the local utility. Id. at 98-99.

        Here, like in Richards, the TOS promised only that Verde’s variable rates could “fluctuate

monthly with market conditions.” Marshall, however, has alleged that Verde breached that

contractual language based solely on promises that Verde did not make in the TOS and ignores the

multiple legitimate factors that Verde could consider in setting its variable rates. Following

Richards, Marshall has failed to plead facts sufficient to support his claim for breach of contract.

Although Richards was on appeal from a grant of summary judgment, the Second Circuit noted,

in relation to the “near-frivolous” allegations that closely track those Marshall regurgitates here,

that “[c]ourts across the country have thus rightly dismissed arguments like Richards’s even at the

pleadings phase.” Id. at 98 & n.6 (collecting cases); see also Windley v. Starion Energy, Inc., No.

14-cv-9053, 2016 WL 197503, at *2-3 (S.D.N.Y. Jan. 8, 2016) (dismissing claim for breach of

contract under New Jersey law because, in promising that the variable rate “may change in

response to market conditions,” the defendant did not promise a rate equivalent to that charged by

competitors).

        Further, unlike in Mercado, Marshall did not “explicitly plead” his claim for unjust

enrichment in the alternative. See ECF No. 1 at ¶¶ 87-90. As set forth in Verde’s prior briefing,

this Court has routinely dismissed unjust enrichment claims where the plaintiff has based his or

her claims on an express contract. See ECF No. 13-1 at 29-30. Nothing in Mercado casts doubt

on those decisions or renders Marshall’s claim for unjust enrichment sufficiently pled. See MZL

Capital Holdings, Inc. v. TD Bank, N.A., No. 14-cv-05772, 2015 WL 491469, at *9 (D.N.J. Aug.

18, 2015) (granting motion to dismiss unjust enrichment claim and stating that “where the pleading

supports the existence of a valid contract, which has not been called into question, an unjust

enrichment claim cannot stand where there is also a breach of contract claim”); Juster Acquistion
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Co. v. N. Hudson Sewerage Auth., No. 12-cv-3427, 2014 WL 268652, at *16 (D.N.J. Jan. 23,

2014) (same).

       Accordingly, for the foregoing reasons as well as those set forth in Verde’s prior briefing,

Verde requests that its Motion to Dismiss (ECF No. 13) be granted.




March 8, 2019                        Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

       I hereby certify that on March 8, 2019, a copy of the foregoing was filed electronically.

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system or by mail to anyone unable to accept electronic filing as indicated on the Notice of

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